439 F.2d 1132
    UNITED STATES of America, Plaintiff-Appellee,v.Virgil HAYES, Jr., Defendant-Appellant.
    No. 30795 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    March 30, 1971.
    
      Appeal from the United States District Court for the Northern District of Georgia; Manuel L. Real, District Judge.
      Wesley R. Asinof, Atlanta, Ga., for defendant-appellant.
      John W. Stokes, Jr., U. S. Atty., Robert E. Whitley, Asst. U. S. Atty., Atlanta, Ga., for plaintiff-appellee.
      Before JOHN R. BROWN, Chief Judge, and INGRAHAM and RONEY, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F. 2d 966
      
    
    